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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

PUMA BIOTECHNOLOGY, INC. and                      )
WYETH LLC,                                        )
                                                  )
              Plaintiffs,                         )
                                                  )
       v.                                         )
                                                  )   C.A. No. 21-1338-MFK
ASTRAZENECA PHARMACEUTICALS LP                    )
and ASTRAZENECA AB,                               )
                                                  )
              Defendants.                         )
                                                  )
                                                  )
ASTRAZENECA PHARMACEUTICALS LP                    )
and ASTRAZENECA AB,                               )
                                                  )
              Counterclaim-Plaintiffs,            )
                                                  )
       v.                                         )
                                                  )
PUMA BIOTECHNOLOGY, INC. and                      )
WYETH LLC.                                        )
                                                  )
              Counterclaim-Defendants.            )


                                NOTICE OF SERVICE

    PLEASE TAKE NOTICE that on February 25, 2022, the following documents were

served on the persons listed below in the manner indicated:

  1. Defendants’ First Set of Interrogatories (Nos. 1-11)

  2. Defendants’ First Set of Requests for Production (Nos. 1-94)
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Dated: February 25, 2022




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